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     SOLUTIONS, INC. d/b/a PALISADE
10   PROTECTION GROUP
11

12                  IN THE UNITED STATES DISTRICT COURT
13                FOR THE CENTRAL DISTRICT OF CALIFORNIA
14

15
     ELI REISMAN, individually and on behalf   Case No.: 8:21-cv-01787
16   of all others similarly situated,
                                               DEFENDANT A-LIST
17                    Plaintiff,               MARKETING SOLUTIONS, INC.
                                               DBA PALISADE PROTECTION
18        v.                                   GROUP'S ANSWER TO
                                               COMPLAINT
19   HOMEASSURANCE, INC. and A-LIST
     MARKETING SOLUTIONS, INC. d/b/a
20   PALISADE PROTECTION GROUP                 Complaint filed: October 29, 2021
21
                      Defendants.
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      DEFENDANT A-LIST MARKETING SOLUTIONS, INC.'S ANSWER TO COMPLAINT
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 1          Defendant A-LIST MARKETING SOLUTIONS, INC. d/b/a PALISADE
 2   PROTECTION GROUP ("Defendant") hereby answers the Complaint of Plaintiff ELI
 3   REISMAN ("Plaintiff") as follows.
 4          1.     The matters asserted in paragraph 1 of the Complaint state a legal
 5   conclusion to which no response is required. To the extent a response is required,
 6   Defendant admits that Plaintiff purports to bring the claims he alleges but denies any
 7   violation or liability.
 8          2.     The matters asserted in paragraph 2 of the Complaint state a legal
 9   conclusion to which no response is required. To the extent a response is required,
10   Defendant admits that Plaintiff purports to bring a claim under the TCPA but denies
11   any violation or liability.
12          3.     The matters asserted in paragraph 3 of the Complaint state a legal
13   conclusion to which no response is required. To the extent a response is required,
14   Defendant is without sufficient information to admit or deny the matters asserted in
15   paragraph 3 of the Complaint.
16          4.     Defendant admits that it is a California Corporation, that its principal
17   place of business is 15333 Culver Dr., Suite 340, Irvine, CA 92604, and that it
18   engages in telemarketing from this District, but is without information sufficient to
19   admit or deny that it engaged in telemarketing with Plaintiff.
20          5.     The matters asserted in paragraph 5 of the Complaint state a legal
21   conclusion to which no response is required. To the extent a response is required,
22   Defendant is without sufficient information to admit or deny the matters asserted in
23   paragraph 3 of the Complaint.
24          6.     Admit.
25          7.     Defendant admits that it makes telemarketing calls from this District and
26   into this District and that it is registered to do business in this District. Defendant is
27   without sufficient information to admit or deny the statements about Homeassure.
28          8.     Admit.
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       DEFENDANT A-LIST MARKETING SOLUTIONS, INC.'S ANSWER TO COMPLAINT
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 1         9.    The matters asserted in paragraph 9 of the Complaint state a legal
 2   conclusion to which no response is required. To the extent a response is required,
 3   Defendant denies the same.
 4         10.   The matters asserted in paragraph 10 of the Complaint state a legal
 5   conclusion to which no response is required. To the extent a response is required,
 6   Defendant denies the same.
 7         11.   The matters asserted in paragraph 11 of the Complaint state a legal
 8   conclusion to which no response is required. To the extent a response is required,
 9   Defendant denies the same.
10         12.   The matters asserted in paragraph 12 of the Complaint state a legal
11   conclusion to which no response is required. To the extent a response is required,
12   Defendant denies the same.
13         13.   The matters asserted in paragraph 13 of the Complaint state a legal
14   conclusion to which no response is required. To the extent a response is required,
15   Defendant denies the same.
16         14.   Defendant is without information sufficient to admit or deny the matters
17   asserted in paragraph 14 of the Complaint and therefore denies the same.
18         15.   Defendant is without information sufficient to admit or deny the matters
19   asserted in paragraph 15 of the Complaint and therefore denies the same.
20         16.   Defendant is without information sufficient to admit or deny the matters
21   asserted in paragraph 16 of the Complaint and therefore denies the same.
22         17.   Defendant is without information sufficient to admit or deny the matters
23   asserted in paragraph 17 of the Complaint and therefore denies the same.
24         18.   Defendant admits that it engages in telemarketing in marketing the
25   services it sells. Defendant denies that it markets Homeassure's services as Defendant
26   is not a marketing company.
27         19.   Deny.
28         20.   Deny.
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 1           21.   The matters asserted in paragraph 21 of the Complaint state a legal
 2   conclusion to which no response is required. To the extent a response is required,
 3   Defendant denies the same.
 4           22.   Defendant is without information sufficient to admit or deny the matters
 5   asserted in paragraph 22 of the Complaint and therefore denies the same.
 6           23.   Defendant is without information sufficient to admit or deny the matters
 7   asserted in paragraph 23 of the Complaint and therefore denies the same.
 8           24.   Defendant is without information sufficient to admit or deny the matters
 9   asserted in paragraph 24 of the Complaint and therefore denies the same.
10           25.   Defendant admits that Plaintiff received a call on Friday, October 1,
11   2021. Defendant denies that the call was a pre-recorded one.
12           26.   Defendant denies that there was a pre-recorded message. Defendant is
13   without information sufficient to admit or deny the remaining matters asserted in
14   paragraph 26 of the Complaint and therefore denies the same.
15           27.   Defendant is without information sufficient to admit or deny the matters
16   asserted in paragraph 27 of the Complaint and therefore denies the same.
17           28.   Defendant is without information sufficient to admit or deny the matters
18   asserted in paragraph 28 of the Complaint and therefore denies the same.
19           29.   Defendant is without information sufficient to admit or deny the matters
20   asserted in paragraph 29 of the Complaint and therefore denies the same.
21           30.   Defendant is without information sufficient to admit or deny the matters
22   asserted in paragraph 30 of the Complaint and therefore denies the same.
23           31.   Defendant is without information sufficient to admit or deny the matters
24   asserted in paragraph 31 of the Complaint and therefore denies the same.
25           32.   Defendant admits that 800-674-1241 is a telephone number associated
26   with Defendant. Defendant is without information sufficient to admit or deny the
27   remaining matters asserted in paragraph 32 of the Complaint and therefore denies the
28   same.
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      DEFENDANT A-LIST MARKETING SOLUTIONS, INC.'S ANSWER TO COMPLAINT
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 1         33.   Admit.
 2         34.   Deny.
 3         35.   The matters asserted in paragraph 35 of the Complaint state a legal
 4   conclusion to which no response is required. To the extent a response is required,
 5   Defendant denies the same.
 6         36.   The matters asserted in paragraph 36 of the Complaint state a legal
 7   conclusion to which no response is required. To the extent a response is required,
 8   Defendant denies the same.
 9         37.   The matters asserted in paragraph 37 of the Complaint state a legal
10   conclusion to which no response is required. To the extent a response is required,
11   Defendant denies the same.
12         38.   The matters asserted in paragraph 38 of the Complaint state a legal
13   conclusion to which no response is required. To the extent a response is required,
14   Defendant denies the same.
15         39.   Admit.
16         40.   Defendant denies that it uses pre-recorded messages. Defendant admits
17   that it does business with Defendant Homeassure. Defendant is without information
18   sufficient to admit or deny the matters asserted in paragraph 40 of the Complaint and
19   therefore denies the same.
20         41.   Defendant is without information sufficient to admit or deny the matters
21   asserted in paragraph 41 of the Complaint and therefore denies the same.
22         42.   Defendant is without information sufficient to admit or deny the matters
23   asserted in paragraph 42 of the Complaint and therefore denies the same.
24         43.   The matters asserted in paragraph 43 of the Complaint state a legal
25   conclusion to which no response is required. To the extent a response is required,
26   Defendant denies the same.
27         44.   Defendant is without information sufficient to admit or deny the matters
28   asserted in paragraph 44 of the Complaint and therefore denies the same.
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 1         45.   The matters asserted in paragraph 45 of the Complaint state a legal
 2   conclusion to which no response is required. To the extent a response is required,
 3   Defendant denies the same.
 4         46.   Admit.
 5         47.   Admit.
 6         48.   The matters asserted in paragraph 48 of the Complaint state a legal
 7   conclusion to which no response is required. To the extent a response is required,
 8   Defendant denies the same.
 9         49.   The matters asserted in paragraph 49 of the Complaint state a legal
10   conclusion to which no response is required. To the extent a response is required,
11   Defendant denies the same.
12         50.   The matters asserted in paragraph 50 of the Complaint state a legal
13   conclusion to which no response is required. To the extent a response is required,
14   Defendant denies the same.
15         51.   The matters asserted in paragraph 51 of the Complaint state a legal
16   conclusion to which no response is required. To the extent a response is required,
17   Defendant denies the same.
18         52.   The matters asserted in paragraph 52 of the Complaint state a legal
19   conclusion to which no response is required. To the extent a response is required,
20   Defendant denies the same.
21         53.   The matters asserted in paragraph 53 of the Complaint state a legal
22   conclusion to which no response is required. To the extent a response is required,
23   Defendant denies the same.
24         54.   The matters asserted in paragraph 54 of the Complaint state a legal
25   conclusion to which no response is required. To the extent a response is required,
26   Defendant denies the same.
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      DEFENDANT A-LIST MARKETING SOLUTIONS, INC.'S ANSWER TO COMPLAINT
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 1         55.    The matters asserted in paragraph 55 of the Complaint state a legal
 2   conclusion to which no response is required. To the extent a response is required,
 3   Defendant denies the same.
 4         56.    The matters asserted in paragraph 56 of the Complaint state a legal
 5   conclusion to which no response is required. To the extent a response is required,
 6   Defendant denies the same.
 7         57.    The matters asserted in paragraph 57 of the Complaint state a legal
 8   conclusion to which no response is required. To the extent a response is required,
 9   Defendant denies the same.
10         58.    The matters asserted in paragraph 58 of the Complaint state a legal
11   conclusion to which no response is required. To the extent a response is required,
12   Defendant denies the same.
13         59.    The matters asserted in paragraph 59 of the Complaint state a legal
14   conclusion to which no response is required. To the extent a response is required,
15   Defendant denies the same.
16         60.    The matters asserted in paragraph 60 of the Complaint state a legal
17   conclusion to which no response is required. To the extent a response is required,
18   Defendant denies the same.
19         61.    The matters asserted in paragraph 61 of the Complaint state a legal
20   conclusion to which no response is required. To the extent a response is required,
21   Defendant denies the same.
22                                AFFIRMATIVE DEFENSES
23         A.     All allegations set forth in the Complaint that have not been specifically
24   admitted by Defendant are hereby denied.
25         B.     Plaintiff's Complaint fails to state a cause of action pursuant to Federal
26   Rules of Civil Procedure 12(b)(6) as it, in whole or in part, states mere legal
27   conclusions without sufficient factual support necessary to allege a cause of action and
28   fails to state a claim upon which relief can be granted.
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      DEFENDANT A-LIST MARKETING SOLUTIONS, INC.'S ANSWER TO COMPLAINT
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 1         C.     Plaintiff may lack standing to bring any one or more of the claims he has
 2   asserted.
 3         D.     Plaintiff's Complaint is bared, in whole or in part, by the doctrines of
 4   waiver, estoppel, and unclean hands.
 5         E.     Defendant states that Plaintiff has failed to plead allegations with
 6   required particularity, failed to plead damages with required specificity, and has
 7   sustained no actual damages. Alternatively, Defendant asserts that any such damages
 8   incurred were not reasonable foreseeable and that Plaintiff has failed to mitigate his
 9   damages, if any.
10         F.     Defendant states that to the extent that it has inadvertently violated the
11   TCPA, such violation was accidental and unintentional.
12         G.     Defendant states that to the extent it has inadvertently violated the TCPA,
13   this was caused by the actions of third-parties.
14         H.     Defendant states that to the extent that the Federal Communications
15   Commission ("FCC") has exclusive rulemaking authority under the TCPA. Pursuant
16   to that rulemaking authority, the FCC also issues orders providing guidance on
17   interpretation and compliance with its provisions. In an Order entered in 1992, the
18   FCC stated: "[P]ersons who knowingly release their phone numbers have in effect
19   given their invitation or permission to be called at the number which they have given,
20   absent instructions to the contrary." Id.
21         I.     Defendant states that Plaintiff's TCPA claim may be barred by his
22   consent.
23         J.     Defendant presently has insufficient knowledge or information upon
24   which to form a belief as to whether it may have additional, as of yet unstated,
25   affirmative defenses available. Defendant hereby reserves the right to assert additional
26   affirmative defenses in the event discovery indicates that they would be appropriate.
27         WHEREFORE, Defendant prays for judgment against Plaintiff as follows:
28         1.     That the Complaint be dismissed, with prejudice and in its entirety;
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      DEFENDANT A-LIST MARKETING SOLUTIONS, INC.'S ANSWER TO COMPLAINT
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 1         2.    That Plaintiff take nothing by reason of the Complaint;
 2         3.    That Defendant be awarded its costs incurred in defending this action;
 3         4.    That Defendant be granted such other and further relief as the Court may
 4   deem just and proper.
 5   Dated: December 7, 2021                 MURCHISON & CUMMING LLP
 6
                                          By:/s/Georgiana A. Nikias______________
 7                                          Anton N. Handal
                                            Georgiana A. Nikias
 8                                          Attorneys for Defendant A-LIST
                                            MARKETING SOLUTIONS, INC. d/b/a
 9                                          SAFEGUARD SOLUTIONS
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      DEFENDANT A-LIST MARKETING SOLUTIONS, INC.'S ANSWER TO COMPLAINT
